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                      UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

IN RE:     KEVIN A. SHERMAN,                 :       Chapter 13
                                             :
                      Debtor                 :       Bky. No. 19-17043 ELF


                                          ORDER

       AND NOW, upon consideration of the Supplemental Application for Compensation

filed by the Debtor’s counsel (“the Application”) (Doc. # 105), and for the reasons stated in the

accompanying Memorandum, it is hereby ORDERED that the Application is DENIED.




Date: March 3, 2022
                                      ERIC L. FRANK
                                      U.S. BANKRUPTCY JUDGE
